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AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT AND ARREST WARRANT.

       I, Gerren K. Stith being first duly sworn, hereby depose and state as follows:

                      INTRODUCTION AND AGENT BACKGROUND

       1.      I am a Special Agent (SA) with the United States Capitol Police (USCP), where I

have served since October 2009. I am currently assigned to the Investigations Division, Threat

Assessment Section. My duties and responsibilities, among other things, include investigating

threats made to federal officials. I have attended the Criminal Investigator Training Program at

the Federal Law Enforcement Training Center in Glynco, Georgia. I have received training and

gained experience in search warrant and arrest warrant applications. I have participated in

numerous investigations into threats against members of Congress and the public to include

violations of Title 18, United States Code, Section 875(c).

       2.      The facts set forth below are based upon my own observations, investigative reports

and information provided to me by other law enforcement agents or witnesses. This affidavit is

intended to show only that there is sufficient probable cause for the requested warrant and does

not set forth all of my knowledge about this matter.

                                    RELEVANT STATUTE

       3.      Title 18, United States Code, Section 875(c), states that “Whoever transmits in

interstate or foreign commerce any communication containing any threat to kidnap any person or

any threat to injure the person of another, shall be fined under this title or imprisoned not more

than five years, or both.”
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                                        PROBABLE CAUSE

       4.      On or about June 22, 2019, The United States Secret Service (USSS) provided The

United States Capitol Police (USCP) with the following screenshots of several threatening Twitter

posts from Twitter user “@Rex_Corso” between June 21, 2019 and June 22, 2019.

            a. “@AjitPaiFCC I am going to murder police officers starting tomorrow. Every hour

               I don’t have my wife someone dies.”

            b. “This is not a drill.”

            c. “This is not phony. This is a real threat.”

            d. “@FBI NASAGov @realDonaldTrump @AjitPaiFcc ACIA I want my wife tonight

               or I am going to stayurdering police officers tomorrow. 1 for every black man killed

               up to now.”

            e. “@GOP @realDonaldTrump “I’m going to kill every fucking cop and pig I see

               tomorrow.”

            f. “If I do not have my wife tonight I will begin stabbing police officers in the back.

               Steal their guns and shoot up the Capitol.”

            g. “I am going to start killing white police officers every hour on the hour until my

               wife @ArianaGrande is brought to me. Starting tomorrow morning.”

            h. “You probably think I am joking or will talk myself out of it. I won’t. I told you

               this ends tonight.”

            i. “@AjitPaiFCC I also have my taser. I can subdue am officer silently, steal their

               gun, and shoot up the capitol.”




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       5.         The USSS further told USCP that through a preliminary investigation, they

tentatively identified Thomas CATINELLA as the owner of the “@Rex_Corso” Twitter account.

       6.         The USSS also provided the USCP with vehicle information for CATINELLA

connecting him with a Toyota four door hatchback with Arizona tags BZT3313. A license plate

check of Arizona tag BZT3313, revealed the following information:

             a. Thomas Michael CATINELLA

             b. Toyota four door hatchback

             c. 5921 North Oracle Road Apt 144 Tucson, AZ 85704

       7.         On June 22, 2019, your affiant submitted a request for an emergency disclosure to

Twitter to obtain subscriber information, and an I.P. log for the Twitter account of “@Rex_Corso”

for the dates of June 21, 2019 and June 22, 2019. This request resulted in the following

information:

             a.   Email address of Tmcatinella@email.arizona.edu.

             b. The IP address of 69.244.63.71 created the account.

       8.         Your affiant thereafter conducted an open source search of CATINELLA through

different law enforcement databases and discovered that phone number 520-310-6510, a Verizon

Wireless number, was assigned to CATINELLA.

       9.         Using a publically available website, your affiant was able to listen to the voicemail

greeting associated with phone number 520-310-6510. The recorded voicemail greeting contained

a male voice who identified himself as Thomas CATINELLA.

       10.        On June 22, 2019, your affiant submitted a request for an emergency disclosure to

Verizon Wireless to obtain subscriber information, call records, and GPS location data of the



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wireless number 520-310-6510.            In response, Verizon provided an IMEI number of

“3548200904051” as being associated with phone number 520-310-6510.

        11.        Verizon also disclosed GPS location data showing that on June 21, 2019 at

approximately 11:05pm EDT, CATINELLA’s phone was in close proximity to 950 Pennsylvania

Avenue, NW in Washington D.C. At 11:16pm EDT, the records revealed that CATINELLA’s

phone location then moved to the area of 701 7th Street, NW in Washington D.C. Notably, this

location data, placed CATINELLA’s phone within the vicinity of the U.S. Capitol around the

time of his threatening Twitter posts, outlined above.

        12.        The provided Verizon GPS location data thereafter revealed that the defendant’s

phone had moved out of Washington, D.C. to Arlington, Virginia midday June 22, 2019. USCP

responded to Arlington and located CATINELLA’s vehicle, the Toyota four door hatchback with

Arizona tags BZT3313. Law enforcement watched a man enter the vehicle with a dog and begin

driving. Officers then stopped the car, identified the man as CATINELLA and detained him for

purposes of a preliminary mental health safety check.

        13.        During this check, CATINELLA made multiple spontaneous utterances including

that:

              a. Law enforcement should look at his statements on Twitter;

              b.   He had sent messages and emails to FCC Chairman Ajit Pai;

              c. He is doing all of this to get paid for his work and he deserves credit and money for

                   writing the Green New Deal;

              d. He was trying to get attention and did not want to hurt anyone; and

              e. His cell phone number was 520-310-6510.



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           14.   CATINELLA was thereafter transported to Virginia Hospital Center for a full

mental health screening.

           15.   On June 24, 2019, your affiant attended the mental health hearing for

CATINELLA at the Virginia Hospital Center in Arlington, Virginia, presided over by Judge

George Gills. At the hearing, CATINELLA admitted that the “@Rex_Corso” Twitter account

was his and that he made the threatening tweets on June 21 and 22, 2019, outlined above. He

further explained that the purpose of the tweets was to draw attention to his situation and his desire

for compensation for writing the Green New Deal and working to eliminate student loan debt,

among other projects. CATINELLA also stated that his threatening tweets were “empty”, he did

not want to hurt anybody, and that his statements were taken out of context.

           16.   Following the hearing, Judge Gills ordered CATINELLA to be involuntarily

committed to the Virginia Hospital Center for up to 30 days.

           17.   Your affiant, thereafter, secured and executed a search warrant for CATINELLA’s

vehicle and seized twelve items, including two cell phones, a laptop, a knife, a small hatchet, and

a taser.

           18.   Further investigation revealed that CATINELLA has made other threatening

Twitter posts.      Specifically, in February 2019, the FBI learned of the Twitter handle

“@MadGodofOrder” posting, “@jack @FBI I have bombs and guns and am going to blow up a

building.” The handle “@MadGodofOrder” was associated with the profile name Thomas

Michael Catinella and posted this threat from Arizona.

           19.   On February 18, 2019, FBI responded to CATINELLA’s home to interview him

in person. During this conversation, CATINELLA stated that he knew law enforcement was there



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because of his “@MadGodofOrder” Twitter account and admitted that he wrote the tweet nd about

bombs and guns and blowing up a building. CATINELLA stated he did not have a gun and

regretted the tweet as soon as he sent it. He said he had no plans to hurt anyone. When

CATINELLA was asked, however, if he thought what he wrote was illegal, he replied “oh yeah.”

Following this conversation, CATINELLA voluntarily committed himself to Sonoran Behavioral

Health.

                                           CONCLUSION

          20.    Based upon the above information, there is probable cause to believe that Thomas

CATINELLA, on or about June 21, 2019 and June 22, 2019, did transmit interstate or foreign

commerce communications containing a threat to injure the person of another, in violation of Title

18, United States Code, Section 875(c).

          21.    I therefore ask that an arrest warrant be issued for Thomas CATINELLA.

          Further, your affiant sayeth naught.


                                                 _____________________________________
                                                 Special Agent Gerren K. Stith
                                                 United States Capitol Police

          Sworn and subscribed to before me this ______ day of July, 2019



                                                 ____________________________________
                                                 UNITED STATES MAGISTRATE JUDGE
At The District of Columbia.




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